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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00008-WJM

UNITED STATES OF AMERICA,

                     Plaintiff,

v.

1. GUY M. JEAN-PIERRE,
    a/k/a Marcello Dominguez de Guerra,

                     Defendant.


     GOVERNMENT=S MOTION TO AMEND THE SPECIFIC DATES ALLEGED IN
         COUNTS 12-16 OF THE SECOND SUPERSEDING INDICTMENT


       The United States, by and through Jeremy Sibert, Assistant United States

Attorney, moves the Court to amend the dates alleged in the second superseding

indictment in counts 12-16 on the ground a review of the evidence to be presented

reflects dates slightly different from the dates alleged (between 4 days and 184 days).

The government submits changing the dates alleged on an indictment comes within the

ministerial duties permitted by the court.

       Specifically the government requests the court to amend those counts of the

indictment as follows:

       Count 12 to 12/13/13 from 1/4/13

       Count 13 to 3/7/13 from 9/12/13

       Count 14 to 4/11/13 from 3/31/13

       Count 15 to 8/19/13 from 8/13/13

       Count 16 to 8/30/13 from 8/26/13.
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                                            ARGUMENT

         While modification of the essential terms of an indictment requires resubmission

to the grand jury, courts may amend an indictment as to a “matter of form.” See Russell

v. United States, 369 U.S. 749, 771 (1962); United States v. Rosenbaum, 628 F. App'x

923, 929 (6th Cir. 2015). Accordingly, courts allow “ministerial corrections of clerical

errors in names, dates, and citations, so long as the change would not deprive the

defendant of notice of the charges against him.” United States v. Dowdell, 595 F.3d 50,

68 (1st Cir. 2010); see also United States v. Simms, 351 F. App'x 64, 66-68 (6th Cir.

2009).

         Correcting the date alleged in an indictment is a matter of form rather than

substance and is permitted. See, e.g., United States v. Barnett, 89 F. App'x 906, 907 n.

1 (6th Cir. 2003) (quoting United States v. Leichtnam, 948 F.2d 370, 376 (7th Cir.

1991)) (“Unless the particular date is an important element of the charged offense,” “a

formal change to the date specified in the indictment . . . will not impermissibly amend

the indictment-- so long, in general, as the evidence shows that the offense was the one

charged and that it was committed on a date before the indictment and within the

statute of limitations.”); United States v. Powell, 564 F.2d 256, 259 (8th Cir. 1977)

(allowing the government to “amend a clerical error as to the date of the crime” was

permissible “as long as the date was not a material element of the crime charged and

defendant is unable to point to any prejudice”).

         For example, in Rosenbaum, the court found amending an indictment to change

the date from April 2008 to August 2007 was “a permissible change in form” where the


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defendant was on notice of the actual date of her conduct. See 628 F. App'x at 929.

Similarly, in United States v. Nicosia, the Seventh Circuit approved an amendment to

correct a clerical error in the indictment which had placed the offense two months earlier

than it actually occurred, on the ground that “[t]he change was immaterial to the charge”

and the defendant had shown “no prejudice to his defense.” See 638 F.2d 970, 976 (7th

Cir. 1980); see also, e.g., Krana v. United States, 546 F.2d 785, 786 (8th Cir. 1976)

(change of date of alleged offense from May 1975 to May 1976 permissible where

defendant failed to show that he was prejudiced); United States v. Mitov, 460 F.3d 901,

906-07 (7th Cir. 2006) (amendment permissible where date changed from June 1, 2001

to July 13, 2001 and no prejudice shown); United States v. Bush, 659 F.2d 163, 166 n.

29 (D.C. Cir. 1981) (citing cases).

       The Tenth Circuit has recognized that an impermissible constructive amendment

of an indictment occurs when “a defendant may have been convicted of a charge that

had not been brought by the grand jury.” United States v. Kalu, 791 F.3d 1194, 1206

(10th Cir. 2015). In United States v. Henderson, 179 Fed. Appx. 535 (10th Cir. 2006),

the court, citing Leichtnam, concluded that the change of starting dates concerning a

continuing criminal enterprise that resulted in a shorter time period than the grand jury

charged was not a constructive amendment of the indictment but only a change of form.

In United States v. Ladue, 208 Fed. Appx 680 (10th Cir. 2016) the court held changing

the date on an involuntary manslaughter indictment by one month was not a

constructive amendment and was permissible. See also United States v. Berroa, 856

F.3d 141, 157 (1st Cir 2017)(change in date by 14 months).


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       Rather than suggest or argue the times as alleged in the second superseding

indictment fall within “on or about,” the government submits it would be best for the

court to amend those counts as noted herein. In United States v. Pina, 974 F.2d 1241

(10th Cir. 1992), the court concluded that the timeliness of the motion by the government

is a critical factor in determining if a change is merely a matter of form or substance.

The court stated that the government=s failure to move for the amendment at the

beginning of the trial, where the amendment would have been a formal correction, was

a waiver of such amendment. Id. at 1244. Key factors in determining if a change is of

form or substance include whether the change surprises the defendant, misleads the

defendant, does not subject the defendant to additional burdens, and does not prejudice

the defendant. Id. at 1242-1243. Here, the allegations of the conspiracy in count 1,

which are incorporated into the wire fraud counts at issue (paragraph 12 of the second

superseding indictment) reflect a time period (March 25, 2011 to May 15, 2014)

covering the amendments requested herein.

       Counsel for the defendant have been advised of this motion and have indicated

the defendant objects to the motion.




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      Dated this 11th day of January, 2019.ebruary, 2009.

                                       Respectfully submitted,

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                                       United States Attorney

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